         Case 8-20-08050-ast            Doc 11       Filed 12/14/20      Entered 12/14/20 15:50:55




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
    ------------------------------------------------------------X
    In re:
                                                                         Case No. 18-71748 (AST)
    ORION HEALTHCORP, INC1.                                              (Jointly Administered)

                                              Debtors.                   Chapter 11
    ------------------------------------------------------------X

    HOWARD M. EHRENBERG IN HIS CAPACITY
    AS LIQUIDATING TRUSTEE OF ORION
    HEALTHCORP, INC., ET AL.,
                                                                         Adv. Pro. No. 20-08050 (AST)
                                                Plaintiff,

    v.

    PORTECK CORPORATION; PORTECK
    CORPORATION D/B/A VISIENT CORP.,

                                                 Defendants.
    ------------------------------------------------------------X

                   ORDER GRANTING MOTION FOR DEFAULT JUDGMENT

           The above named Plaintiff, Howard M. Ehrenberg in his capacity as Liquidating Trustee

of Orion Healthcorp, Inc., et al., (the “Plaintiff”) commenced this adversary proceeding on

March 14, 2020, against the above named defendants Porteck Corporation and Porteck

Corporation d/b/a Visient Corp. (the “Defendants”), seeking a judgment for Avoidance and

Recovery of Preferential Transfers Pursuant to 11 U.S.C. §§ 547 & 550 and Objection to Claim

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.


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Nos. 10059, 10060, and 10069; and the Summons and Complaint were served on the Defendants

on March 16, 2020; and the Defendants have failed to answer the complaint or otherwise move

with respect to the complaint; and the Plaintiff filed and served the instant motion pursuant to

Federal Rule of Civil Procedure 55, as incorporated by Federal Rule of Bankruptcy Procedure

7055, seeking entry of a default judgment against Porteck Corporation and Porteck Corporation

d/b/a Visient Corp. (the “Motion”); and no opposition to the Motion has been filed with the

Court; and the Court has determined after due deliberation that sufficient cause exists to grant the

Motion and that the Plaintiff is entitled to the relief sought in the Motion, it is hereby

                 ORDERED, that the Motion for default judgment is hereby granted.




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